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                                              February 12, 2020


Honorable Stephen L. Crocker
United States Magistrate Judge
120 North Henry Street
Madison, Wisconsin 53703

         Re:       United States v. David Kruchten
                   Case No. 20-cr-10-jdp

Dear Judge Crocker:

        The Court has set a status hearing on Friday morning for calendaring this case and
I would like to move that to tomorrow afternoon. Ms. Altman and I are both appearing
at Dr. Kriemelmeyer’s final pretrial conference tomorrow, and I was hoping to conduct
the scheduling hearing in this case immediately after the final pretrial conference. The
reason is that there is an event at my children’s school on Friday morning that I would
like to attend.

       Thus, I respectfully request that the Court hold the scheduling hearing in Mr.
Kruchten’s case tomorrow, immediately after the 1:30 hearing. I have spoken to AUSA
Elizabeth Altman and she does not object to this request.




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      Thank you for your attention to this matter.

                                        Sincerely,

                                        /s/ Joseph A. Bugni

                                        Joseph A. Bugni
                                        Associate Federal Defender

Cc:   AUSA Elizabeth Altman
